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          EXHIBIT 12
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                                                  November 21, 2002


          His Royal Highness Prince Bandar bin Sultan bin Abdulaziz
          Ambassador
          Royal Embassy of Saudi Arabia
          601 NeW Hampshire Avenue, N.W.
          Washington, D.C. 20037

          Dear Prince Bandar:

            • • . I have receiVed
                            •      your-
                                         letter of October 22, 2002, as well as the replies from theVariop§
          law firms involved in this matter, refusing toproduCe the records subpoenaed by the CoMmittec,
          and cfaiming that the records are protected by the Vienna Convention on DiplcirriaticRelations. .
          eldniit believe that your letteris a satisfactory reply to the three subpoenas the Committee ha-4
          issued to Patton Boggs„ 14.P, Qorvis Communications, and The Gallagher Group. This is a
          claim without any support in the legal precedents of the United States or, to the best of our
          knowledge, any other signatory to the Vienna Convention. It is also a claim which has been
          explicitly rejected in the attached analysis by a leading expert on the Vienna Convention,
          Professor Eileen Denza. Simply put, the Vienna Convention extends broad protections to
          diplomatic agents of a foreign government, as well as some more limited protections to foreign
          nationals who are employed by a diplomatic mission in other capacities, but it has no application
          to American citizens who choose to sell their services as public relations/Iobbying mouthpieces
          for foreign interests. To the contrary, the Foreign Agents Registration Act, which was enacted
          by Congress in 1937, makes clear that the activities of such "propagandists," including the
          documents they generate, send and receive in the course of those activities, are to be subject to
          the "spotlight of pitiless publicity" so that the American people may be fully informed of both
          the identity of the propagandists and the nature of the activities they undertake on behalf of their
          foreign masters. It is ludicrous to suggest, as you and your lawyers do, that when the United
          States ratified the Vienna Convention some 25 years after the enactment of FARA, it intended to
          shroud in absolute secrecy the very same activities of these propagandists.

                 As a preliminary matter, it is important that you understand the Committee's need for the
          subpoenaed records. Since the beginning of this year, the Committee has been investigating
          abductions of U.S. citizens to Saudi Arabia. For at least 20 years, the Saudi government has
          refused to provide meaningful cooperation to the U.S. government in resolving kidnapping cases.
          The Committee hoped that if public attention was brought to this matter, the Saudi government


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 would finally work seriously to solve the problem. However, for the last several months, it
 appears that the Saudi government has worked to undermine the Committee and its efforts to
 bring American citizens home. The Saudi government has made numerous misleading •
 Statements about the kidnapping cases and about the Committee's efforts. It has engaged in
 publicity stunts, for example, flying the Gheshayan sisters to London to deliver a statement
 rather than having them meet with their mother in the United States. These actions have led me
 to question whether the Saudi government has any intention of working with the U.S.
 government in good faith to resolve these kidnapping cases. i believe that the documents sought
 by the Committee's subpoenas should answer this question. If indeed, the Saudi government has
 no intention of resolving these cases and intends only to undermine the U.S. government'S
 efforts; it will certainly shape the Congress' legislative response to this situation.

          I am extremely troubled that you have decided to raise these highly questionable legal
  privileges in response to the Committee's subpoena. It appears that you are raising a privilege
  that has never been raised before in this context to prevent the Congress and the American public
. from learning what your lobbyists and public relations agents were doing to respond to these
  kidnapping cases. This leads meta wonder: what is the Saudi government trying to hide?. I am
  afraid that this claim of privilege is just the latest in a series of unfortunate actions takenby the
  Saudi government in thesekidnapping cases. Apparently it is not enough for the Saudi
.government to hold American.citizens-against their will, lie about its actions, and in some cases
  to be complicit in the kidnapping: _Now the Saudi government is-attempting to prevent the
 Congress froin learning what role the Saudi government's American lobbyists have played in
  this matter. This claim of privilege has no support in the law, and is intended only to keep the
• facts from Congress and theArnerican parents of the kidnapped children who are trying to learn •
 what the Saudi government is doing to return their children.

 I.      The Subpoenaed Documents Are Not Protected by the Vienna Convention on
         Diplomatic Relations

         The main argument you have put forth is that the documents of your lobbyists are
 protected from disclosure by the Vienna Convention on Diplomatic Relations. Specifically, you
 have claimed that the lobbyists' records are "archives and documents of the mission" which are
 "inviolable" under the Vienna Convention. This appears to be an unprecedented claim which
 conflicts with the lobbying firms' longstanding legal obligations under the Foreign Agents
 Registration Act ("FARA"). Moreover, there is no support for the Saudi position, either in the
 text of the Vienna Convention, or in the supporting caselaw. Indeed, the world's leading expert
 on the Vienna Convention, Professor Eileen Denis, has issued a written opinion supporting the
 Committee's position on this point. Finally, the practical ramifications of your argument have
 deeply troubling consequences for the nation's efforts to combat terrorism.

         A.     The Lobbyists' Legal Responsibilities Under FARA

       The three entities subpoenaed by the Committee, Patton Boggs, Qorvis Communications,
 and The Gallagher Group ("the subpoenaed firms"), are all registered agents of the Saudi
 government under FARA. FARA was passed to:
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          [P]ublicize the nature of subversive or other similar activities of such foreign
          propagandists, so that the American people may know those who are engaged in
          this country by foreign agencies to spread doctrines alien to our democratic form
          of government, or propaganda for the purpose of influencing American public
          opinion on a political question.

   H. Rep. 1381, 75th Cong., 1st Sess. (1937). Under FARA, all registrants must disclose, among
   other things, a statement of the registrant's business and a statement of the nature of the work the
   registrant performs for the foreign principal. 22 U.S.C. § 612(a). In addition, the registrant must
   keep "such books of account and other records with respect to all his activities ... as the
   Attorney General, having due regard for the national security and the public interest, may by
   regulation prescribe[:]" 22 U.S.C. § 615. Department of Justice regulations specify that FARA
   registrants must keep and preserve, among other things, "[a]11 correspondence, memoranda,
   cables, telegrams, teletype messages, and other written.conununications to and from all foreign •
   principals and all other persons, relating to the registrant's activities on behalf of, or in the
   interest of any of hid foreign principals." 28 C.F.R. § 5.500(a)(l). The registrant must also keep
  141 correspondence, memoranda, cables, telegrams, teletype messages, and other written
   communications to and from all persons, other than foreign principals, relating to the registranff
   political activity, or relating to political activity on the part of any of the registrant's foreign
   principals!' 28 C.F.R. § 5.500(a)(2):: All of these records "shall be open.at -all reasonable times-.
 • to the inspection of any official charged.with the "enforcement of FARA.. 22 U.S.C. §615: - • .
                                                                                      , .    •   •   ' .   •

        Therefore under federal law, the subpoenaed firms are required.to keep all of their
 records of correspondence with the Saudi government or regarding their activities on behalf of
 the Saudi government. These records are open to Justice Department inspection at "all
 reasonable times." The Justice Department has frequently exercised its tights under 22 U.S.C. §
 615 to obtain and inspect the records of individuals and entities registered under FARA.I See
 Emerson v. Department of Justice, 603 F. Supp. 459, 462 (D.D.C. 1985) ("Often copies of
 papers in the registrant's file are obtained for further examination. . . Some of these papers may
  include diary entries, entertainment guest lists, explanation of certain expenditures and other
 details of the registrant's activities, including activities that are not required to be reported.")
 The documents sought by the Committee, are in large part, if not in their entirety, documents
 required to be maintained and open to Justice Department inspections under FARA. Given this
 fact, it is difficult for me to understand your argument that these precise documents are
 "inviolable" under the Vienna Convention on Diplomatic Relations. Indeed, FARA was
 intended to address fact patterns much like the one before the Committee, in which foreign
 governments retain American firms and individuals to present propaganda to mislead the
 American public regarding their highly questionable activities.

           B.       The Lack of Legal Support for the Saudi Government's Position

         While your letter and those of your lawyers were very well drafted and cited many cases,
  the simple fact is that there is no support for the proposition that the subpoenaed records are

  I In fact, according to records provided to the Committee by the Department of.fustice, it appears that the records of
  at least one Saudi lobbyist have in the past been inspected under FARA.
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     "archives and documents of the mission." Most illustrative of this fact is that Professor Eileen
     Denza has drafted the attached legal opinion in support of the Committee's position on this
     question. Professor Denza is a member of the Faculty of Laws at University College London
     and is the author of Diplomatic Law, the Ittading treatise on the Vienna Convention. As you can
     see from the attached letter, Professor Denza believes that "the records which are the subject of
     subpoenas from the Committee on Government Reform of the House of Representatives are not
     archives or documents of the Saudi mission and so not protected on the basis of inviolability
     tram disclosure." When one reviews the text of the Vienna Convention, it is clear why Professor
     Denza supports the Committee's position. Article 24 of the Vienna Convention states that "It]he
     archives and documents of the mission shall be inviolable at any time and wherever they may
     be." However, them is nothing in the Vienna Convention suggesting that documents generated
     by or in the possession of lobbyists and public relations specialists are in fact "archives and
     documents of the mission." You have not cited any caselaw claiming that documents generated
     by "such individuals are protected under Article 24. Rather, you have relied on a tenuous series
     of analogies which in reality, provide no support for your position.

               First, you claim that under "settled law," the documents in the possession of the Saudi
       lobbyists are the property of the Saudi Embassy, and that they are therefore subject to the
.     .provisions of the Vienna Convention:: The main:case you cite in support of this proposition is in
      :re .Granel.hay Proceedings,. 72-7,F_2d. 944. klOth.klir.:1984). However, an examination of-that
     ..easi shows-that it-arose in a.setting-Where slaWyer's-reCOrds had-been subpoenaed, the client • •
  .::directed the lawyer.to:comPlywith thestibpoena, and.the laWyer refused, claiming thatthe•was.
  : .pruteetedirom production by the.Fifth Amendment to the 1,J.S.. Constitution and the>attomey,
       work product doen-ine. Thecciurt held that. forPifth Amendment purposes, the lawyer did not
    ..pcssess
    .           the documents in a "purely personal capacity" and therefore was not entitled to invoke
       his Fifth Amendment rights over them. The case might be relevant precedent if the Saudi
       government directed the lobbying firms to comply with the Committee's subpoenas and the
       firms refused. However, it certainly does not establish that the documents of a lobbyist should
       be considered "archives and documents of the mission" within the meaning of the Vienna
       Convention.

             The other cases which you cited, In re Stone, 672 A.2d 1032 (D.C. 1995), In re Karr, 722
     A.2d 16 (D.C. 1998), and In re Bernstein, 707 A.2d 371 (D.C. 1998), stand for the proposition
     that a client should receive a copy of the case file upon request at the end of the representation.
     These cases do not suggest that all documents generated by or obtained by a lawyer or lobbyist
     in the course of his work are the property of the client. They also do not suggest that in
     situations where a lobbyist does have to return certain records upon the request of the client that
     the lobbyist cannot maintain copies of those records. The cited cases also do not address the case
     before the Committee, where in fact there is an ongoing representation. Most significantly, the
     Saudi lobbyists are under a statutory obligation to maintain copies of the records, and this
     obligation would supersede any request from their client or the caselaw you have cited. FARA
     requires registered agents to keep copies of records relating to their representation for three years
     following the termination of their representation of the foreign principal. While the cases you
     have cited do not clearly establish an ownership interest by the Saudi Embassy in the subpoenaed
     records, it is clear that if such an interest exists, it is severely limited by FARA's requirement
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                that the registered agent maintain the records -and that. the Justice Department have aces to the
                records.

                         Most importantly, you have not cited any authority which suggests that the documents in
                the possession of consultants for an embassy are "archives and documents of the mission." In
                fact, as she discusses in her attached letter, Professor Denza believes that the most relevant
                precedent supports the Committee's position. The main case you have cited for the proposition
                that the subpoenaed records are protected under the Vienna Convention is In re Liberian Eastern
                limber Corp. v. The Government of the Republic of Liberia, 659 F. Supp. 606 (D.D.C. 1987).
                However, Liberian Eastern Timber Corp. deals with the attachment of Embassy bank accounts,
                that is, funds belonging to the Embassy and necessary to perform Embassy functions. As
                Professor Denza has written to the Committee, there is a major difference between a litigant's
                attempt to attach the funds which belong to an Embassy, and the Committee's attempt to
                subpoena records belonging to lobbying firms:

                         There have been a series of cases in several jurisdictions, this case being one of
                         them, which now establish that embassy bank accounts are entitled to protection
                         under customary international law. The case cannot be usr.d in order to enlarge
                        :the protection given under a different Article of-the Vienna Convention where the .
                         wider:constriction cannot be-supported:by- eithentheworda of-the Convention, by
                    = • practice; or by authorities in other jurisdictions:-   •   :- • ;. - •        •
                                ; .
                        ghesemainder of the cases citedby your lawyersAhave little.to.do with the issue:before
                the Committee. For example,-your attorneys have cited ari Office of L6gal Counsel opiriion
                drafted:regarding a claim of executive privilege by President.Clinton: In that case, President
                Clinton claimed executive privilege in response to a Congressional subpoena for records
                containing presidential communications relating to U.S. foreign policy in Haiti. Of course,
                executive privilege is a constitutionally based privilege which protects certain presidential
                communications. It goes without saying that executive privilege — a privilege for the U.S.
                President under the U.S. Constitution — is not available to the Saudi government and its
                consultants, lobbyists and public relations agents. Your attorneys have also cited a series of
                cases arising under the Freedom of Information Act regarding the deliberative process privilege.
                Of course, these cases have nothing to say about the Vienna Convention or Congress' right to
                obtain records in the possession of lobbyists and public relations specialists for f0reign
17▪1            governments.2 The fact that your attorneys have spent so many pages discussing cases which are
                so inapplicable to the facts before the Conunittee demonstrates the lack of support for your
a-)             position.

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   •   01       2 It should be noted that the deliberative process privilege discussed in the cases cited by your lawyers would not be
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 C
       01       available to U.S. government agencies in response to a Congressional subpoena. It would be an anomalous result
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        0_      indeed to provide private parties lobbying on behalf of foreign governments with die benefit of the deliberative
   •   4t       process.privitege when it is not available to the U.S. government in response to Congressional subpoenas.
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         C.       The Disturbing Ramifications of the Saudi Position

            It is also important to consider the ramifications of your argument. First, if your position
   were  correct,   a foreign mission could employ a U.S. citizen to break the law, and then cloak any
   documents about that activity in diplomatic immunity. Even a spy could be hired by a foreign
   mission, and then claim that his documents are protected by the Vienna Convention if they were
   sought by the FBL I see no reason why.spies like Robert Hansen, Aldrich Ames, or Jonathan
   Pollard couldnot claim that they were agents of foreign embassies, and that their documents •
   were protected from disclosure by the Vienna Convention. If this argument were allowed to
   stand it could potentially cripple future espionage investigations,3 and would distort the
   fundamental purpose of the Vienna Convention. Second, and perhaps most significantly, your
   interpretation of the Vienna Convention would eviscerate FARA.. FARA was passed to "protect
   the national defense, internal security, and foreign relations of the United States by requiring •
   public disclosure by persons engaging in propaganda activities for or on behalf of foreign        -
   governments, foreign political parties, and other foreign principals so that the Government and
   the people of the United States May be informed of the identity of such persons and may appraise
  •their statements and actions in the light of their associations and, activities." Meese v. Keene, 481
• U.S.. 465, 469 (1987)-(quoting 56 Stat. 248-49 (1942)). To ensure that filings made under FARA
- :are accumte„the Justice Department has the right to obtain a.wide array of documents.relating to.
- a registraneshrepresentationof a foreign entity.:, Yet, Tourargutnent wouldkeep the Department.
   front obtainidg any of these records.- This interpnetationWouldwirtually.bat.the Justice-        -•
  pepartment from:enforeing FARA. 1t is noteworthy 'that. in the 30 years:that theljnited-States
   has-been a signatoryaotheVienna Converition,-.the.histice Depainnent ha.s:tepeatedly7obtained
   records from representatives of foreign: governments, and yet appidently,.not once has a foreign •
   government made the claim that you are advancing.

         It is unthinkable that Congress, through silence or inadvertence, relinquished its vital
 oversight responsibilities over registered foreign agents. A number of courts have held that
 statutory nondisclosure provisions, when they are not explicitly applicable to Congress, cannot
 be used to deny Congress access to information. See, e.g., FTC v. Owens-Corning Fiberglass
 Corp., 626 F.2d 966, 970 (D.C. Cir. 1980); Exxon Corp. v. FTC, 589 F.2d 582, 585-86 (D.C. Cir.
 1978); Moon-v. CIA, 514 F. Supp. 836, 84041 (SDNY I981). Likewise, there is-nothing in the
 Vienna Convention which makes the nondisclosure provisions of the Convention applicable to
 the documents at issue, much less- a Congressional request for such documents.

 IL      Testimony by Representatives of the Subpoenaed Firms is Not Privileged

         Just as disturbing as your claim that the subpoenaed documents are privileged is-your
 apparent belief that testimony by lobbyists and consultants for the Saudi government is
 privileged as well. Your letter did not make this argument clear, but your lawyers made it clear
 in their recent meeting with Committee staff that you believe that the Committee cannot compel
 your lobbyists and consultants to testify regarding their activities. You are apparently making
 this claim despite the fact that the:Committee has already subpoenaed your top public relations

 3 The argument you have made could potentially allow attorneys for previously convicted spies like Hansen, Ames
 or Pollard to go back and argue against their convictions.
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   consultant, Michael Petruzzetlo, and he testified extensively about his work for the Saudi
   government.

           Your claim is also inconsistent with the Vienna Convention itself, which explicitly
   identifies the persons who are entitled to assert privileges against providing evidence. Article
   31(2) of the Vienna Convention provides that a "diplomatic agent is not obliged to give evidence
   as a witness." This privilege is also expressly extended to members of the administrative and
   technical staff of the mission, so long as these members are not nationals or permanent residents
   of the receiving state. Art. 37(2). Such nationals or permanent residents are entitled to only such
   privileges and immunities as the receiving State chooses to provide them. Art. 38. By contrast,
   your claim would extend a privilege against providing evidence to U.S. nationals who are not
   even employees of the mission, and who do not fall within any of the categories of protected
   persons identified by the Convention. See Art. 1. Indeed, Professor Denza has written to the
   Committee that "Wobbyists and public relations specialists providing professional services to the
   Embassy of Saudi Arabia would not on that basis be exempt from an obligation to testify as
   witnesses."

           • Moreover,. even individuals who, unlike the lobbyists and consultants here, occupy
     positions which the Vienna•Convention was designed to protect are not exempt from compulsion
        provide evidencaunlosanduntiLthe.State.Pepartrnent has:been netified.oftheir.appointment-
• in the manner required by the Convention.. Vulcanfron .Works, Inc.--v.-Polish American                 .
     Machinery Corp,,, 479,.E.• SUpp.A.060, _1064-650.D_NX..1979). :ThisTequirementpreseives the.
     State DepartnieWs ability to rejectapPointrnents.it,findsobjectienable,.-andenaures that the.-class. •
   . of persons protected by the Convention•is clearly defined. If the government of Saudi Aiabia
  :truly intended andexPected thatits.consultants and lobbyists would be protected by the Vienna
     Convention, it would have so notified the State Department when they were retained.

   IIL      Attorney-Client Privilege and Attorney Work Product

             You also objected to the production of any documents protected by the attorney-client
     priVilege and attorney work product doctrine. Of course, Congress is not obligated to recognize
     common law privileges like the attorney-client privilege. See, e.g., Proceedings Against Ralph
    Bernstein and Joseph Bernstein, H. Rep. No. 99-462, 99th Cong., 2d Sess. 13 notes 12-14
     (1986). Even if the Committee were disposed to accept such a claim in this case, it is doubtful
     that many of the documents are covered by the attorney-client privilege. Only one of the 'three
     subpoena recipients is a law firm. It also appears that most of the work being carried out, even
  j by the law firm, is related to lobbying, not legal work, and would therefore not be protected by
    -the attorney-client privilege. See In re grand Jury Subpoenas dated March 9, 2001 at 43-44
  • (S.D.N:Y. 2001). See also Federal Deposit Insurance Corporation v. Hurwitz, No. Misc. 01-
     0287 (D.D.C. July 25, 2002).4 Similarly, Congress is not obligated to recognize the attorney

     It is interesting to note that in the Hurwitz case, Judge Thomas Penfield Jackson allowed the FDIC to proceed with
    a subpoena of records relating to the lobbying activities of Patton Boggs. According to a press account, Judge
  . Jackson informed counsel for Patton Boggs that "he would be inclined to agree with him 'if you were, in fact,
    defense counsel' but added-. `You are not. You provided services of a different nature.'" James V. Grimaldi, FDIC
    Case Against Texas Businessman Hurwitz Moves Forward with Approval of Subpoena, The Washington Post
    (August 12, 2002).
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   work product doctrine. Even if the Committee did allow such a claim in this case, it is unlikely
   that any of the documents at issue would be properly classified as attorney work product, given
   the absence of any anticipated litigation in this matter. Nevertheless, if you believe that any of
   the subpoenaed documents are the proper subject of an attorney-client privilege or attorney work
   product claim, we invite you to make such a claim and provide a detailed privilege log.

   Conclusion

           In summary, there is no support for your position that the subpoenaed records are subject
   to protection under the Vienna Convention. Therefore, I reject your claim of privilege, and
   request that the subpoenaed records be produced to the Committee. If the subpoenaed parties do
   not comply with my request, I will consider appropriate action to enforce the subpoenas and
   obtain the requested information.


                                                         Sincerely,




                                                   •••


      cc: The Honorable Cohn Powell,.Seeretary of State •
          The Honorable John Ashcroft, Attorney General
          The Honorable Henry A. Waxman, Ranking Minority Member
          Maureen E. Mahoney, Latham & Watkins
          Robert Luskin, Patton Boggs LLP
          Leslie Kiernan, Counsel for Qorvis Communications
          Peter Romatowski, Counsel for The Gallagher Group

      Attachment
